          Case 1:21-cr-00012-KMW Document 31 Filed 11/15/21 Page 1 of 1

                                                                      USDSSDNY
                                                                      DOCUMENT
UNITED STATES DISTRICT COURT                                          ELECTRONICALL'; 1·1LED
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
                                                                      DOC#:     - - -.--r-
UNITED STATES OF AMERICA                                              DATE FILED: _.!../..L.1-J!_..!-r=':2.
                                                                                                         ~



         -against                                                           ORDER
                                                                       21 CR 12 (KMW)
ERIK FELIZ,

                                        Defendant.
------------------------------------------------------------------x
KIMBA M. WOOD, District Judge:

        At defendant's request, sentencing is adjourned to Wednesday, January 12, 2022, at 2:30

p.m., as an in-person proceeding. Defendant's submission is due by December 29, 2021.

Government submission is due by January 5, 2022.

         SO ORDERED.

Dated: New York, New York
       November 15, 2021


                                                       ,,  KIMBA M. WOOD
                                                      UNITED STATES DISTRICT JUDGE
